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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  ROBERTO TORRES and
  MYRIAM TORRES,

          Plaintiff,                                      CASE NO: 1:20-cv-23414-DPG

  vs.

  LIBERTY MUTUAL FIRE
  INSURANCE COMPANY
  and C & D PLUMBING, INC.,

          Defendant.

  __________________________/

        RESPONSE TO PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO FILE
           RESPONSE TO LIBERTY MUTUAL FIRE INSURANCE COMPANY’S
             MOTION TO SEVER CLAIMS AGAINT C & D PLUMBING, INC.

          Defendant, Liberty Mutual Fire Insurance Company (“Liberty Mutual”), responds to

  Plaintiffs’ Motion for Extension of Time to File Response to Liberty Mutual Fire Insurance

  Company’s Motion to Sever Claims Against C & D Plumbing, Inc.

  I.      Background

          Liberty Mutual removed this matter on August 17, 2020. The Notice asserted that the

  citizenship of C & D Plumbing, Inc. should be disregarded because C & D Plumbing was

  misjoined. (DE 1.) On September 16, 2020, Plaintiff moved to remand. (DE 12.) On

  September 30, 2020, Liberty Mutual moved to sever the claims against C & D Plumbing. (DE

  13.) Liberty Mutual also responded in opposition to the motion to remand. Id. Plaintiffs have

  requested an extension to respond to the motion to sever until 14 days after the court rules on the

  motion to remand. (DE 15.)
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  II.    Argument

         Plaintiffs primarily request an extension “to avoid waste and promote judicial efficiency.”

  (DE 15 at 2.) This is a goal shared by Liberty Mutual, and, should be shared by all litigants.

  That is why, for example, Liberty Mutual did not oppose an extension for Plaintiffs to respond to

  the motion to dismiss. (DE 10.)

         The motion to sever, however, is intertwined with the motion to remand. When a non-

  diverse defendant is misjoined, the court must sever the claims against the non-diverse defendant

  and remand those claims to state court. See e.g., Stone v. Zimmer, Inc., 09-80252-CIV, 2009 WL

  1809990, at *5 (S.D. Fla. June 25, 2009); M.W. v. Ford Motor Co., 8:14-CV-3132-T-24TBM,

  2015 WL 1311029, at *4 (M.D. Fla. Mar. 24, 2015). Accordingly, this Court should decide the

  motion to remand and motion to sever simultaneously. For this reason, Liberty Mutual opposes

  the motion for extension.



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                                  CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing was served by electronic notification

  generated by CM/ECF system on October 21, 2020, on all counsel or parties of record.


                                           /s/ Matthew J. Lavisky
                                           MATTHEW J. LAVISKY




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